                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CHELSIE NITSCHKE, et al.,                        )
                                                 )
        Plaintiffs,                              )
                                                 )        NO. 3:24-cv-01342
v.                                               )
                                                 )        JUDGE CAMPBELL
VILLAGES AT FOREST VIEW, LLC, et                 )        MAGISTRATE JUDGE NEWBERN
al.,                                             )
                                                 )
        Defendants.                              )

                                             ORDER

         This matter comes before the Court on Plaintiffs’ Motion for Leave to Serve Supplemental

Rebuttal Expert Report to the Expert Report of Defendants Villages at Forest View, LLC, VFV

Partners, LLC, and Hostettler, Neuhoff & Davis, LLC d/b/a HND Realty, LLC. (Doc. No. 33).

         The Court finds the same to be well taken and the Motion (Doc. No. 33) is GRANTED.

WHEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that Plaintiffs are hereby

granted leave to serve a supplemental rebuttal expert report to the expert report of Defendants.

         It is so ORDERED.


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                                                     WILLIAM L. CAMPBELL, JR.
                                                     CHIEF UNITED STATES DISTRICT JUDGE




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